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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS,              )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        ) Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

              FURTHER NOTICE OF ADDITIONAL RECORD EVIDENCE

       Plaintiff Fusion GPS (“Fusion”) respectfully submits this further supplement to the

record, at the request of Jason Foster, Chief Investigative Counsel to the Senate Committee on

the Judiciary. On December 14, 2017, Mr. Foster wrote Plaintiff’s counsel regarding Plaintiffs’

Notice of Additional Record Evidence, filed on December 12, 2017. Dkt. 45. Mr. Foster’s email

states: “Your recent filing with the court uses a tweet by Senator Whitehouse to imply that

Chairman Grassley was an anonymous source for a story in the NYT. He was not. The

implication in your filing is false.   Please see the attached letter from Chairman Grassley

addressing Senator Whitehouse’s tweet with him directly.” Ex. N to the Declaration of Steven

M. Salky (Mr. Foster’s email attaching December 13, 2017 letter from Senator Grassley to

Senator Whitehouse). Mr. Foster requested that Plaintiff “amend your filing to correct the record

and include a copy” of Chairman Grassley’s letter to avoid “leav[ing] a misleading impression
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with the court now that you have the facts.” Id. Mr. Foster did not dispute any other aspects of

the Notice.

       Although Plaintiff’s Notice (Dkt. 45) did not mention Senator Grassley either in the

bullet discussing Senator Whitehouse’s December 1 tweet or in the preceding bullet discussing

the November 30 New York Times story about which Senator Whitehouse tweeted, id. at 2,

Plaintiff nonetheless submits the attached letter at Mr. Foster’s request to ensure the Court has a

full record before it as it decides these important issues. By filing Mr. Foster’s communication

and Senator Grassley’s letter, Fusion does not endorse or otherwise express a view about their

contents or about Senator Grassley’s conduct.

Dated: December 14, 2017                            Respectfully submitted,

                                                    /s/ Theodore J. Boutrous, Jr.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of December 2017, the foregoing was filed on the

Court’s CM/ECF system, thereby serving all counsel of record in this matter.




                                                   /s/ Theodore J. Boutrous, Jr.
                                                   Theodore J. Boutrous, Jr.




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